           Case 2:13-cr-00067-RSM              Document 129    Filed 04/04/13     Page 1 of 2




 1

 2

 3

 4

 5

 6                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 7                                      AT SEATTLE

 8 UNITED STATES OF AMERICA,

 9                                Plaintiff,             Case No. CR13-67-RSM

10          v.                                           DETENTION ORDER

11 JOSE MANUEL PARDO-MARTINEZ,

12                                Defendant.

13 Offense charged:

14          Conspiracy to Distribute Controlled Substances.

15 Date of Detention Hearing: April 4, 2013.

16          The Court, having conducted a detention hearing pursuant to Title 18 U.S.C. § 3142(f),

17 and based upon the factual findings and statement of reasons for detention hereafter set forth,

18 finds that no condition or combination of conditions which the defendant can meet will

19 reasonably assure the appearance of the defendant as required and the safety of any other person

20 and the community.

21         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

22          Defendant is charged with a crime that carries a presumption of detention. He has failed

23 to overcome that presumption. The Court received no information about defendant’s ties to the



     DETENTION ORDER - 1
           Case 2:13-cr-00067-RSM          Document 129         Filed 04/04/13      Page 2 of 2




 1 community, residence, employment, or health. He has no legal status in the country and an

 2 immigration detainer has been lodged against him. Defendant made no argument for release.

 3          It is therefore ORDERED:

 4          (1)    Defendant shall be detained pending trial and committed to the custody of the

 5 Attorney General for confinement in a correctional facility separate, to the extent practicable,

 6 from persons awaiting or serving sentences, or being held in custody pending appeal;

 7          (2)    Defendant shall be afforded reasonable opportunity for private consultation with

 8 counsel;

 9          (3)    On order of a court of the United States or on request of an attorney for the

10 Government, the person in charge of the correctional facility in which Defendant is confined

11 shall deliver the defendant to a United States Marshal for the purpose of an appearance in

12 connection with a court proceeding; and

13          (4)    The Clerk shall direct copies of this order to counsel for the United States, to

14 counsel for the defendant, to the United States Marshal, and to the United States Pretrial Services

15 Officer.

16          DATED this 4th day of April, 2013.

17

18                                                        A
                                                          BRIAN A. TSUCHIDA
19                                                        United States Magistrate Judge

20

21

22

23



     DETENTION ORDER - 2
